
The People of the State of New York, Respondent,
againstVictor Tlahuel, Appellant.




New York City Legal Aid Society (Joanne Legano Ross of counsel), for appellant.
Queens County District Attorney (John M. Castellano , Johnnette Traill and Mariana Zelig of counsel), for respondent.

Appeal by defendant, as limited by his brief, from a sentence of the Criminal Court of the City of New York, Queens County (Elisa S. Koenderman, J.), imposed September 8, 2014, upon defendant's conviction, upon his plea of guilty, of endangering the welfare of a child.




ORDERED that the sentence is affirmed.
Having pleaded guilty to endangering the welfare of a child (Penal Law § 260.10 [1]), defendant appeals from the agreed-upon sentence, arguing that it is excessive in that it makes him ineligible for relief from immigration consequences.
While "we have the authority, in the interest of justice, to reduce a sentence that has been served and which resulted from a negotiated plea and sentencing agreement that is otherwise unchallenged" in order to avoid the immigration consequences of the sentence (People v Diallo, 46 Misc 3d 62, 64 [App Term, 2d Dept, 2d, 11th &amp; 13th Jud Dists 2014]; see also People v Aisewomhonio, 131 AD3d 1177 [2015]; People v Cuaran, 261 AD2d 169 [1999]), under the circumstances presented, we decline to modify the sentence imposed herein.
Accordingly, the sentence is affirmed. 
PESCE, P.J., ALIOTTA and ELLIOT, JJ., concur. 
ENTER:Paul KennyChief ClerkDecision Date: May 18, 2018










